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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                                   Trenton

   NOVO NORDISK INC., et al.,
                Plaintiffs,                       No. 3:23-cv-20814-ZNQ-JBD
                v.
   XAVIER BECERRA, et al.,
                Defendants.


                   PLAINTIFFS’ NOTICE OF APPEAL
       TO THE U.S. COURT OF APPEALS FOR THE THIRD CIRCUIT
        Notice is hereby given that Novo Nordisk Inc. and Novo Nordisk Pharma, Inc.,

  Plaintiffs in the above-named case, hereby appeal to the United States Court of Appeals

  for the Third Circuit from the Order (ECF No. 94) of the United States District Court

  for the District of New Jersey entered in this case on July 31, 2024, and from all

  underlying and related findings, orders, decisions, rulings, and opinions, including but

  not limited to the Opinion (ECF No. 93) of the United States District Court for the

  District of New Jersey also entered in this case on July 31, 2024.
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  Dated: August 14, 2024
                                    Respectfully submitted,

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                                    and Novo Nordisk Pharma, Inc.




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                            CERTIFICATE OF SERVICE
        I hereby certify that on August 14, 2024, a true and correct copy of the foregoing

  Notice of Appeal was electronically filed with the Clerk of Court using the CM/ECF

  system which will send notification to all counsel of record.

                                          /s/ Israel Dahan
                                          Israel Dahan (NJ Bar No. 042701997)
                                          Counsel for Novo Nordisk Inc.
                                          and Novo Nordisk Pharma, Inc.




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